         Case 1:06-cv-00540-TWT Document 3 Filed 04/03/06 Page 1 of 1



                          UNITED STATES DISTRICT COURT
                          NORTHERN DISTRICT OF GEORGIA
                                ATLANTA DIVISION



BERNARD CATLIN,
                      Plaintiff,                  CIVIL ACTION FILE

VS .                                                      NO. 1 : 06-cv-540-TWT

VICTOR HILL
                      Defendant .


                                      JUDGMENT

       This action having come before the court, Honorable Thomas W . Thrash, Jr ., United

States District Judge, for a frivolity determination pursuant to 28 U .S .C . §1915A, and the

court having made such determination, it is

       Ordered and Adjudg ed that the action be DISMISSED as frivolous .

        Dated at Atlanta, Georgia, this 3 ' day of April, 2006 .



                                                          LUTHER D . THOMAS
                                                          CLERK OF COURT


                                                    By:       .J
                                                          Deputy Clergy

Prepared , F iled, and Entered
in the Clerk 's Offi ce
April 3 , 2006
Luther D . Thomas
Clerk of Court
By. I

       Deputy Clerk
